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     '!;,AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
                Sheet 1

                                                                                                                          lOll eel i (; AlliS· 58
                                               UNITED STATES DISTRICT COURT                                                             '.        '~ , ~..." "i
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                                                                                                                                                                  '-')"" •

                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRI~AL CASE
                                         v.                                         (For Offenses Committed On or After November 1, 1987)

                   ERIKA SERRANO-GONZALEZ (23)                                      Case Number: lICR4153-WQH
                                                                                     STEPHEN WHITE, RET
                                                                                    Defendant's Attorney
     REGISTRATION NO. 28418298

     D
     THE DEFENDANT:
     181pleaded guilty to count(s)_I_O_F_T_H_E_IND_I_C_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea ofnot guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offcnse(s):
                                                                                                                                              Count
     Title & Section                          Nature of Offense                                                                              Number(s)
21 USC 846, 841 (a)(l)                 CONSPIRACY TO DISTRmUTE METHAMPHETAMINE                                                                I




         The defendant is sentenced as provided in pages 2 through _ _.. ;.4_ _ o fthisjudgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _----------------------------------------------
                                                        _ _ _ _ _ _ _ is DareD dismissed on the motion ofthe United States.

  181 Assessment: $100.00

  181 Fine waived                                    0 Forfeiture pursuant to order filed                                        , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notifY the court and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                                OCTOBER 15,2012




                                                                                                                                                   llCR4153-WQH
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AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2   Imprisonment

                                                                                              Jud!,rment   Page _ _2_ of      4
 DEFENDANT: ERIKA SERRANO-GONZALEZ (23)
 CASE NUMBER: l1CR4153-WQH
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         48 months



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    !gj The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the Residential Drug Abuse Program (RDAP)




     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.     Dp·m.         on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        -------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _________________ , with a certified copy of this judgment.


                                                                                            UNITED STATES MARSHAL


                                                                      By _ _ _ _~~~~==~~~~~-------
                                                                                         DEPCTY UNITED STATES MARSHAL




                                                                                                                    llCR4153-WQH
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AO 2458 (CASD) (Rev. 12/11 JJudgment in a Criminal Case
           Shcct 3- Supervised Release
                                                                                                               Judgment-Page    ---1- of _ _4'--_ _
DEFENDANT: ERIKA SERRANO-GONZALEZ (23)                                                                 II
CASE NUMBER: llCR41S3-WQH
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
2 years

         The defendant shall report to the probation office in the district to which the detendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000 Pursuant to 18 USC sections 3563(a)(7) and 3583(d).
                                          L
        The detendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.CO § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in thi s ju dgm ent.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                       l1CR4153-WQH
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                  Sheet 4 - Special Conditions
                                                                                                        Judgment--Page _ _4_ of _ _4~_ _
       DEFENDANT: ERIKA SERRANO-GONZALEZ (23)                                                      II
       CASE NUMBER: 11CR4153-WQH




                                             SPECIAL CONDITIONS OF SUPERVISION
[8] Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o Ifofficer
      deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
            within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport. harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
[8] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
[8] Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic dru~ or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release ofthe presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within        days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
[8] Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




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